                           UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION



PAUL TRUETT CANADY, II                 )
Administrator for the Estate of Jimmie )
Andrew Underwood, d/b/a James Blackmon, )
a/k/a James Blackman, a/k/a Jimmy Lee  )
Hooker                                 )
                      Plaintiff,       )
                                       )
v.                                     )             JUDGMENT
                                       )
JAMES HOLDER, in his individual        )             5:20-CV-524-FL
capacity, ANDREW MUNDAY, in his        )
individual capacity and                )
CITY OF RALEIGH                        )
                      Defendants.      )

Decision by Court.

This action came before the Honorable Louise W. Flanagan, United States District Judge, for
consideration of plaintiff’s motion to dismiss without prejudice and defendants’ motions for
judgment on the pleadings.

IT IS ORDERED, ADJUDGED AND DECREED in accordance with the court’s order entered
July 8, 2022, and for the reasons set forth more specifically therein, plaintiff’s motion to dismiss
is GRANTED and defendants’ motions for judgment on the pleadings are DENIED AS MOOT.
Plaintiff’s complaint is DISMISSED WITHOUT PREJUDICE.

This Judgment Filed and Entered on July 8, 2022, and Copies To:
Sonya Pfeiffer / Robert S. Mahler / David S. Rudolf (via CM/ECF Notice of Electronic Filing)
Daniel Edward Peterson / Jason R. Benton (via CM/ECF Notice of Electronic Filing)
Rachel E. Keen / Sonny S. Haynes (via CM/ECF Notice of Electronic Filing)
Dorothy V. Kibler / Norwood P. Blanchard, III (via CM/ECF Notice of Electronic Filing)


July 8, 2022                          PETER A. MOORE, JR., CLERK

                                        /s/ Sandra K. Collins
                                      (By) Sandra K. Collins, Deputy Clerk




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